Case 3:21-cv-00741-TJC-SJH Document 183 Filed 06/14/24 Page 1 of 2 PageID 3512




                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION

 BRUCE SCUDDER                            CASE NO. 3:21-cv-741-TJC-JBT
 v.
 SOFI LENDING CORP, et al.

 Counsel for Plaintiff:                   Counsel for Defendants:
 Duran L. Keller, Esq.                    Jenny Nicole Perkins, Esq.
 Scott Craig Borison, Esq.                John Michael Marees, II, Esq.
                                          Lauren M. Burnette, Esq.
                                          Mitchell Lee Turbenson, Esq.

                 HONORABLE TIMOTHY J. CORRIGAN
                  UNITED STATES DISTRICT JUDGE

 Courtroom Deputy: Timothy Luksha
 Court Reporter: Shannon Bishop


                            CLERK’S MINUTES

  PROCEEDINGS OF JURY TRIAL: Day 4

  Plaintiff’s Witnesses:        Bruce Scudder, Stephen Donaway

  Plaintiff’s Exhibits:         52, 55

  Defendants’ Exhibits:         2, 49, 52, 65, 106, 107, 132, 181, 183

  Court’s Exhibits:             4, 5, 6

  Jury released, due to report back at 8:45 a.m. on June 17, 2024.

  Discussion regarding outstanding evidentiary issues.

  Charge conference.

  DATE: June 14, 2024
  TIME: 9:07 a.m. – 6:12 p.m.
Case 3:21-cv-00741-TJC-SJH Document 183 Filed 06/14/24 Page 2 of 2 PageID 3513




  (Recess 12:37 p.m. – 1:37 p.m.)
  TOTAL: 8 hours 5 minutes




                                      2
